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Renegade Refiner: OSHA Says BP Has
“Systemic Safety Problem”

OF% of Worst Industry Vieletions Fourd at BP Refinenes
By Jim Moris and MLB. Pel | way 16, 20°70

Two refineries owned by o) giant BP account for 97 percent of all

flagrant violations found in the refining industry by government safety Like 1,399 people ike this.
qyepectors over the past free years, a Center for Public integrity

anayeis snows. Most of SF's cletons were classified as “egregious

wilfuP by the Occupetonal Salety and Healih Adminstration anc

refect alleged violations of a mie cesigned to preven catasiroohic 181

events a refineries. twaely

oP is palling a massive oil well soll on ine Gui of ecco after an Related:
Agr 20 walorm blest thal siled 11 workers. Gul the firm pas been
under intense OSHA scrulny since lis refirery in Texas Cis, Texas,
exploded in March 2005, killing 15 workers. While continuing is probe
in Texas Cily, OSHA launched a natonwice refinery inseection
orocram in June 2007 in response to a senas of tres, expos ons and
chermica) releases througnoul ihe industry.

Refinery inspection dala obigined by the Cenlier uncer ine Freecom of
information Act for OSHA's n@ionwide program and for ine peralie)
Texas Ciy inspection show inal BP rece ved a lola) of 562 cilatons
ostween June 2007 anc February 2010 for aleqged volatons at ts
refnernes Texas City and Toleco, Onc.

Dalia Mine: Coast Guerd Ostabase Keeps
Or Soll Penailies Uncer vvraps

DY those, 760 were clessified as “egregious wilfu’ and 59 were
Classified as “wilful” Thirty of the GP citations were deemed “serous"
ane three were unclassified. Virtually al of ihe clations were jor
alleged violations of OSHA's process saiely management slendarc, a
sweeping rule governing everything from storage of flammable liquids ©8S* Guard Logs Reveal Early Spi
to emergency shutdown systems. BP accounted for 829 of the 854 Estimate of 2,000 Barrels a Day
wilful woigtions among af refiners cited by OSHA dunne the perod
analyzed oy the Center.

Top OSHA off cialis told ihe Center in an interview inal BP was ciled
for more egreg ous wiliul violaions than other refiners because i

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failed lo correc! ihe types of problerns thal led to ine 2005 Texas City Traning Exercises Showed Gans ir
acciden! even afler OSHA pointed them oul. in Toledo, croblems were Government Preparedness Before BP Ol
corrected in-one part of ihe refinery bul went ur@cdressed NM anciher. Spik

Jordan Barab, deouly assisianl secretary o7 labor for occupational
galety and pean, said i was clear hal SP “dicn’) go neariy jar
enough’ to correct deficiencies afer the 2005 blast.

“The only Hing you can conclude is hal BF has 3 serous, systemic safely problem in their company,” Barab said.

commmliment of the refining industry to worker neath and safety.” he said.

BP officiais cic nol respond lo requests for commen about ihe OSHA cata,

According to ihe compeny’s website, “BP's commibnent to salely begins al ine mos! senor levels of our
organization-—with robust systems to Implement, audit, report on and mprave our pedormance.

“Crealng @ safe and nealthy working environment is essental jor our success. Since (995, injury rates anc sols
nave reduced by approximately 75 percent,” ine GP website says.

BP FACES $90 MILLION IM FINES

SP, which calls itself he country's largest of

ano gas producer, operates five LS. refinenes hal collectively process about 1.5 mluon barre's of crude 0} per day.
Last October, OSHA proposed a record S57 millon fine againg: the Texas City refinery. The agency proposed a ine
of $3 milion against the Toledo refinery in March. SP is contesting both penalties.

Separately, BP's Cherry Point refinery in laine, Wash., was cled by stale requ ators for 12 serious vio ations earlier
ts month. Penalties iolaing $09,200 have been oroposec. These cilalions are mot inciuced in dala analyzed by ine
Cenier,

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No other ol company inspecled by OSHA since
June 2007 was even cose to EP in the numer
of ceebons ssued. Sunoco inc. was clec for
V27 alleged violations, eight of which were
willtul ConocoPhillos Co. was cited for 119,
four of which were wilful, and Citgo Peirolaum Egregious Willful Citations 760 ‘

Corp. for 101, two of which were wilful. issued for each instance of a willy! and Naorait wolation

OSHA Citations to U.S. Refineries
dune 2007 - February 2010

oP Oter Felonies

OSHA defines a willy voation as one

. : peg Wie Ghetlions a) oe
“commited with plain odference fo or issued for violations with intentional disregard fe amployee
intentonal disregard for employes safety and safety and health
hea” An egregious wilful violation is
considered so severe that it can resultin Serous Chatone 20 eet
penalty each time a violation occurs, rather Issued for violations with a “substantial probability” of
than a single penalty for ail violations of a dealh oF saris injury
requiation. A serious viddalion is described as “ae
one creating @ “substantial probability’ of dean reel whe ornioil or Was otew son biiad toy Ss
or serious injury. OSHA can refer cases hazard in past three years
involving worker deaths and wanton cisregarc
for safety rules to the Justice Department for Uncass (ed GCiaions a

criminal prosecution. ued 9 Or oe oo one Heaton

San ee eed Dy or Pole biget

Under ihe nabonwice program, OSHA hae

finished ospecting, ar is in ibe process of

mnepecting, 85 refineries uncer federa| OSKA uredicuon, wih 12 lefto inspect Another 23 US. refineries are
exerpied because ney participate in a voluntary program for employers thal have agreed to aciopt selety rules
stricter inan whel OSHA requires. Some inspectons were perlormed by regulators in sigies such as Wasringion
and Calforna, which have ther own worker safely orograms. There are 55 refineries 7 nese sisies

ina leller io minery managers ast year, OSHA's enforcement director, Richard Fairfax, wrote val on ine previous
15 years, ine reining Industry hac recorded “more fatal or calastropnic inc dents related to ihe reease of highly
nazarcous chemica’s ... han any olner iniusiry sector covered by the [process safely management standard.
OSHA inspectors, Fairfax wrote, were Tinding “many of he same problems repeatedly.”

The Center jor Public
A TROUBLED INDUSTRY Integrity on Face OOK
Afier the BP refinery in Texas Cly bew up on March 23. 2005, the : Like

US. Ceemical Safety Board, an nodepencent federal agency,

concluded thai ihe c saster was caused by “organizations: and safety The Canter for Public Integrity has 3,907

deficiencies af a) levels of ine BP Corporation. Warning signs of a fans

poss bie disasier were present for several years, but commoany offic als
cid not intervene effectively to prevent i*

Severs)

Olver melor incidents ~ including a poe failure hat caused $30 milion

ny damace — occurred ai ihe same BF refinery just months afler ine

exp osion, ine safety board found. An invesiigative panel chaired by

forner Secretary of Stale .ames Baker aso documented

management lapses and questionable cost-cutting at BP. Gut ihe Saker panel's repor acdec: “We are uncer no
Jlusion thal ceficiencies im process safety cullure, management, or comorsie oversign: are linvied io BR

indeed, on Apri 2 of this year, a ire at ine Tesoro Corp. refinery in Anacories, Washngion, led seven workers.
The cause of (hat accicent has not been determined.

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Gul Bl Hoyle, fonner manager of nvestoaions for the
safely board and che? nvesigator of the 2005 GP
disaster, said ¢ provides further evidence that ihe
sousiry ss cuting cormers. “The industry across the board
NaS process saiety problems. Fires and exolosions anc
falaities are continuing unabated. Texas City should
PAVE Served a6 2 wake-up cal), but ney didn‘ waxe up”
Hoyle tole the Denier.

Now a safely consultant for the Uniipd Sleelworkers,
which represents about 30,000 refinery employvess,
Hoyle sad the OSHA inspection program is “a flash in
i the pan which looks at only a try percentage of each
ous te are ee ey ¢ neery & ahs a hoe BE . ©
On Apri 2. 2010, 2 fre st the Tesoro Corp. refinery in Anacortes, refinery ~ one or Sve process units.” He questioned its
Washington, kiled seven workers. The rafinery wes cled in _ :
Dotsher 2009 tor 17 serious process safaty meragement vieletens, Gieciveness, noting Inat ine Tesoro refinery in

ié-of whiten ware cropped afer the oompany negolisied with the Anacortes was cited in October 2004 tor (7 serious
Yosh ngton Stele Gepariment of Leber & industries. (Courtesy of eieabe acs . 4A rk cachet
Walter Siegmund / OC BY 3.0; process safely management violalions, 14 of which were

cropped afer ine company negot alec with ine
Wasningion Siate Deparimen! of Labor & Industries. A orooosed pengily of $25,700 wes reduced to $12,250.

Refineries are nherenily dangerous paces. In ine course o7 lumming crude ol] io gasoline, diese, oropane and
otper products, workers come in close contact with extremely fammeole anc lowe materials. These materals are
uncer nigh temperatures anc pressures, creating fire and explosion hazards. OShA's orocess safety management
slandard requires refinery and chemical plant oversiors to have systems in olace to identify and milgate inese
nazares.

“im Nibarger, a pealin and safely specia ist with ine Steelworkers, happened to be in Anacories when ihe Tesora
refinery caught fire last month. Six of the seven workers killed belonged to the union. “i was almost sick to my
stomach,” Nioarger sad. “| ihougnt, “vnen ie & doing Io slop? Vvhar's { going (0 take for ins Industry fo wake up?”

in his view, mary of ne problems in the ncustry can be faced to grow ng intervals between refinery “umnarounds,*
when equipment is taken offine for c eaning, repair or replacement Nol ong ago, Nibarger saic. lumarounds were
scheduled every two ip tree years. Now, as ofl companies try to cul costs, ifs every three Io ive years.

Gregory Scoll, execulive vice president of ihe National Petrochemical & Reliners Association, defended ihe industry.
“Safety is the Nighes? promty al our member clanis.” pe tole Tne Center.

Scott sad ine industry is develoning unvorm standards io imorove process safety management a: refineries.
“Clearly, we're talong the siens lo implement orocess safety metrics,” he said. “Chastising he noustry for not doing
a earlier may or may not be accurate.”

Sul OShA’s Farad said ihe refining incusiry group continues to Weal calamities ime (nose n Texas City and
Anacomes as isolated incidents. Reiners also ooint misleadingly to Their industry's relatively aw “recorcacie’ Tiness
anc njury rales, which he says are not rélab/e predictors of catastrophic incidents. Federal law requires employers
‘orecord and reporl al occupational dealns, injuries, anc dinesses.

“BP rad a very low recorcable injury and jiness rale before iney blew uo the [Texas City plant,” Barao said. If the
industry persists in using such rales as a measure of overall salely, he saic, “N's hard to taxe thelr commitment
serougy.”

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